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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE: BARBARA JENNINGS,                             CASE NO. 19-53917-SMS

        DEBTOR.                                       CHAPTER 13

                         SUBSTITUTION OF COUNSEL AND
                    CERTIFICATE OF CONSENT TO WITHDRAWAL

       COMES NOW Alexander Gray Hait of Hait & Kuhn and pursuant to BLR 9010-5(c) files
this Substitution of Counsel and Certificate of Consent to Withdrawal substituting Alexander Gray
Hait in place of Brandon K. Honsalek as counsel for DEBTOR, Barbara Jennings in this matter.
       DEBTOR has selected Alexander Gray Hait to serve as substitute counsel for DEBTOR.
As evidenced by the signature below, DEBTOR consents to the requested withdrawal and
substitution of counsel.
       Brandon K. Honsalek hereby waives and forfeits all right and interest in receiving any
further attorney’s fees in this case. All future attorney’s fees shall be paid to Alexander Gray Hait.
       Dated: March 22, 2023

                                                      Respectfully submitted,

        Hait & Kuhn                                    /s/ Alexander Gray Hait
        185 Stockwood Drive                            Alexander Gray Hait
        Suite 100                                      Georgia Bar No. 316359
        Woodstock, GA 30188                            Attorney for Debtor
        Phone: 770-517-0045
        Email: all@northmetrolitigators.com


       Agreed to by:

        Honsalek Law, LLC                              /s/ Brandon K. Honsalek W/EXPRESS
        414 Pine Grove Ave., 2nd Floor                 PERMISSION
        Grayson, GA 30017                              Brandon K. Honsalek
        Phone: 404-913-6992                            Georgia Bar No. 742962
        Email: brandon@honsalek.com                    Attorney for Debtor




                                                                Doc ID: 2e04f08646f1d178b4cd127a330dca6f3c304781
Case 19-53917-sms        Doc 87   Filed 03/23/23 Entered 03/23/23 13:00:01      Desc Main
                                  Document     Page 2 of 7




      Consented to by:

                                       03 / 23 / 2023

      Barbara Jennings
      3720 Montrose Pond Walk
      Duluth, GA 30096




                                                        Doc ID: 2e04f08646f1d178b4cd127a330dca6f3c304781
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE: BARBARA JENNINGS,                           CASE NO. 19-53917-SMS

       DEBTOR.                                      CHAPTER 13

                             CERTIFICATE OF SERVICE

       I hereby certify that I have electronically filed the foregoing SUBSTITUTION OF
COUNSEL AND CERTIFICATE OF CONSENT TO WITHDRAWAL using the Bankruptcy
Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program.

      Barbara Jennings, Debtor
      3720 Montrose Pond Walk
      Duluth, GA 30096
      VIA FIRST CLASS U.S. MAIL

      Brandon K. Honsalek
      Honsalek Law, LLC
      414 Pine Grove Ave.
      Grayson, GA 30017
      VIA FIRST CLASS U.S. MAIL

      S. Gregory Hays, Chapter 7 Trustee
      Hays Financial Consulting, LLC
      Suite 555
      2964 Peachtree Road
      Atlanta, GA 30305
      VIA FIRST CLASS U.S. MAIL

      United States Trustee
      362 Richard Russell Federal Building
      75 Ted Turner Drive, SW
      Atlanta, GA 30303
      VIA FIRST CLASS U.S. MAIL

      ALL CREDITORS ON ATTACHED MAILING MATRIX




                                           Page 1 of 2
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      Dated: March 23, 2023




                                                 Respectfully submitted,

      Hait & Kuhn                                 /s/ Alexander Gray Hait
      185 Stockwood Drive                         Alexander Gray Hait
      Suite 100                                   Georgia Bar No. 316359
      Woodstock, GA 30188                         Attorney for Debtor
      Phone: 770-517-0045
      Email: all@northmetrolitigators.com




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               Case 19-53917-sms          Doc 87   Filed 03/23/23           Entered 03/23/23 13:00:01      Desc Main
Label Matrix for local noticing               Jonathan S. Adams
                                                   Document           Page 5 of 7            Bank Of America
113E-1                                        Office of the United States Trustee            Po Box 982238
Case 19-53917-sms                             362 Richard B Russell Federal Building         El Paso, TX 79998-2238
Northern District of Georgia                  75 Ted Turner Drive, SW
Atlanta                                       Atlanta, GA 30303-3315
Thu Mar 23 12:53:52 EDT 2023
Bank of America, N.A.                         Michael J. Bargar                              Michael J. Bargar
P O Box 982284                                Rountree Leitman Klein & Geer LLC              Rountree Leitman Klein & Geer LLC
El Paso, TX 79998-2284                        Century Plaza                                  Century Plaza I
                                              2987 Clairmont Road, Suite 350                 2987 Clairmont Road, Suite 350
                                              Atlanta, GA 30329-4435                         Atlanta, GA 30329-4435

Capital One Bank (USA), N.A.                  Capital One Bank (USA), N.A.                   (p)CAPITAL ONE
by American InfoSource as agent               by American InfoSource as agent                PO BOX 30285
4515 N Santa Fe Ave                           PO Box 71083                                   SALT LAKE CITY UT 84130-0285
Oklahoma City OK 73118-7901                   Charlotte, NC 28272-1083


Chase Bank USA, N.A.                          (p)JPMORGAN CHASE BANK N A                     Coast Professional, Inc.
c/o Robertson, Anschutz & Schneid, P.L.       BANKRUPTCY MAIL INTAKE TEAM                    PO Box 2899
6409 Congress Avenue, Suite 100               700 KANSAS LANE FLOOR 01                       West Monroe, LA 71294-2899
Boca Raton, FL 33487-2853                     MONROE LA 71203-4774


Department Stores National Bank               Fedloan                                        Ford Motor Credit Comp
c/o Quantum3 Group LLC                        Po Box 60610                                   Po Box Box 542000
PO Box 657                                    Harrisburg, PA 17106-0610                      Omaha, NE 68154-8000
Kirkland, WA 98083-0657


(p)FORD MOTOR CREDIT COMPANY                  David E. Galler                                Gastroenterlogy Specialists
P O BOX 62180                                 Galler Law, LLC                                721 Wellness Way
COLORADO SPRINGS CO 80962-2180                P. O. Box 2118                                 Suite 100
                                              Roswell, GA 30077-2118                         Lawrenceville, GA 30046-3304


(p)GEORGIA DEPARTMENT OF REVENUE              Georiga Department of Revenue                  Gwinnett Emergency Specialists
COMPLIANCE DIVISION                           1800 Georgia Department of Revenue             75 Remittance Drive Dept. 6627
ARCS BANKRUPTCY                               Atlanta, Ga 30341                              Chicago, IL 60675-6627
1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

Gwinnett Medical Center                       S. Gregory Hays                                Alan Hinderleider
PO Box 116228                                 Hays Financial Consulting, LLC                 Office of the United States Trustee
Atlanta, GA 30368-6228                        Suite 555                                      362 Richard B Russell Federal Building
                                              2964 Peachtree Road                            75 Ted Turner Drive, S.W.
                                              Atlanta, GA 30305-4909                         Atlanta, GA 30303-3315

Brandon K. Honsalek                           (p)INTERNAL REVENUE SERVICE                    Internal Revenue Service
Honsalek Law, LLC                             CENTRALIZED INSOLVENCY OPERATIONS              POB 7346
414 Pine Grove Avenue                         PO BOX 7346                                    Philadelphia, PA 19101-7346
Grayson, GA 30017-1639                        PHILADELPHIA PA 19101-7346


Barbara Jennings                              John’s Creek Specialists Center                Brian K. Jordan
3720 Montrose Pond Walk                       PO BOx 650292                                  Aldridge Pite, LLP
Duluth, GA 30096-6633                         Dallas, TX 75265-0292                          Six Piedmont Center, Ste 700
                                                                                             3525 Piedmont Road, N.E.
                                                                                             Atlanta, GA 30305-1578
               Case 19-53917-sms             Doc 87       Filed 03/23/23            Entered 03/23/23 13:00:01           Desc Main
LVNV Funding, LLC                                    RonaldDocument
                                                            A. Levine       Page 6 of 7                   (p)DSNB MACY S
Resurgent Capital Services                           Levine & Block, LLC                                  CITIBANK
PO Box 10587                                         P.O. Box 422148                                      1000 TECHNOLOGY DRIVE MS 777
Greenville, SC 29603-0587                            Atlanta, GA 30342-9148                               O FALLON MO 63368-2222


McClure Place HOA, Inc.                              Bryce R. Noel                                        Northeast Endoscopy Center, LLC
Community Mgmt Assoc.                                Aldridge Pite, LLP                                   721 Wellness Way
1465 Northside Drive, STE 128                        3575 Piedmont Road, NE, Suite 500                    SUite 110
Atlanta, GA 30318-4244                               Fifteen Piedmont Center                              Lawrenceville, GA 30046-3304
                                                     Atlanta, GA 30305-1527

Ocwen                                                Optimum Outcomes Inc                                 John T. Ruff
Po Box 24646                                         2651 Warrenville Rd Ste                              Kenneth Nugent, P.C.
West Palm Beach, FL 33416-4646                       Downers Grove, IL 60515-5559                         1355 Peachtree St. NE
                                                                                                          Suite 1000
                                                                                                          Atlanta, GA 30309-3270

K. Edward Safir                                      TD BANK USA, N.A.                                    Td Bank Usa/Targetcred
Standing Chapter 13 Trustee                          C/O WEINSTEIN & RILEY, PS                            Po Box 673
Suite 1600                                           2001 WESTERN AVENUE, STE 400                         Minneapolis, MN 55440-0673
285 Peachtree Center Ave. NE                         SEATTLE, WA 98121-3132
Atlanta, GA 30303-1259

Thd/Cbna                                             U.S. Bank National Association                       U.S. Department of Education
Po Box 6497                                          Ocwen Loan Servicing, LLC                            c/o FedLoan Servicing
Sioux Falls, SD 57117-6497                           Attn: Bankruptcy Department                          P.O. Box 69184
                                                     PO Box 24605                                         Harrisburg, PA 17106-9184
                                                     West Palm Beach, FL 33416-4605

US Department of Education                           US Department of Education                           US Dept. of Education
PO Box 16448                                         Po Box 790336                                        Edfinancial Services
St. Paul, MN 55116-0448                              Saint Louis, MO 63179-0336                           120 N. Seven Oaks Dr.
                                                                                                          Knoxville, TN 37922-2359


United States Attorney                               United States Trustee
Northern District of Georgia                         362 Richard Russell Federal Building
75 Ted Turner Drive SW, Suite 600                    75 Ted Turner Drive, SW
Atlanta GA 30303-3309                                Atlanta, GA 30303-3315




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One Bank Usa N                               Chase Card                                           Ford Motor Credit Company, LLC
15000 Capital One Dr                                 Po Box 15298                                         Drawer 55-593
Richmond, VA 23238                                   Wilmington, DE 19850                                 P.O. Box 55000
                                                                                                          Detroit, MI 48255-0953


Georgia Department of Revenue                        Internal Revenue Service                             Macys/Dsnb
ATTN: Bankruptcy Department                          401 West Peachtree Street                            Po Box 8218
1800 Century Blvd., N.E.                             M/S 334-D                                            Mason, OH 45040
Suite 9100                                           Atlanta, GA 30308-3539
Atlanta, GA 30345-0000
               Case 19-53917-sms             Doc 87      Filed 03/23/23 Entered 03/23/23 13:00:01                       Desc Main
                                                         Document     Page 7 of 7

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Capital One Bank (USA), N.A.                      (u)Ford Motor Credit Company, LLC, A Delaware        (u)N Metropolitan Radiology
by American InfoSource as agent                                                                           PO Box 1746
4515 N Santa Fe Ave
Oklahoma City, OK 73118-7901


(u)Ocwen Loan Servicing, LLC                         (u)U.S Bank National Association                     End of Label Matrix
                                                                                                          Mailable recipients   49
                                                                                                          Bypassed recipients    5
                                                                                                          Total                 54
